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               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:01CR130
                              )
          v.                  )
                              )
CARLTON BROWN,                )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to reserve ruling (Filing No. 113), and motion to reduce sentence

(Filing No. 116).       Inasmuch as the Court has ruled on a motion to

reduce sentence (Filing No. 110), these motions will be denied as

moot.   Accordingly,

           IT IS ORDERED that said motions are denied as moot.

           DATED this 30th day of March, 2009.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
